     Case 2:16-cv-06599-SJO-FFM  Document
                             UNITED STATES70DISTRICT
                                              Filed 07/30/19
                                                       COURTPage 1 of Priority
                                                                      7 Page ID #:921
                                                                                 Send
                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                 Enter
                                                                                 Closed
                                   CIVIL MINUTES - GENERAL                       JS-5/JS-6
                                                                                 Scan Only



CASE NO.: 2:16-CV-06599-SJO-FFM                         DATE: July 30, 2019
TITLE:         Guillermo Robles v. Domino's Pizza, LLC

========================================================================
PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                     Not Present
Courtroom Clerk                                      Court Reporter

COUNSEL PRESENT FOR PLAINTIFF:                       COUNSEL PRESENT FOR DEFENDANT:

Not Present                                          Not Present

========================================================================
PROCEEDINGS (in chambers): ORDER DENYING DEFENDANT'S MOTION TO STAY
PENDING DEFENDANT'S WRIT OF CERTIORARI [Docket No. 64]

This matter is before the Court on Defendant Domino's Pizza, LLC ("Defendant" or "Domino's")
Motion to Stay Proceedings Pending Defendant's Writ of Certiorari ("Motion"), filed on June 11,
2019. Plaintiff Guillermo Robles filed an Opposition to the Motion ("Opposition") on June 24, 2019.
Defendant Replied ("Reply") on July 1, 2019. The Court found this matter suitable for disposition
without oral argument. See Fed. R. Civ. P. 78(b). For the following reasons, the Court DENIES
Defendant's Motion.

I.       FACTUAL AND PROCEDURAL BACKGROUND

         A.    Factual Background

The operative complaint in this action alleges as follows. Domino's Pizza, LLC, purportedly
discriminated against Plaintiff based on his disability because Defendant prevented him from being
able to access the company's online services. (See First Am. Compl. ("FAC") ¶ 2, ECF No. 66.)
As a blind individual, Plaintiff uses screen-reading software to access the internet and interact with
online services. (See FAC ¶¶ 10, 17-19.) Defendant allegedly did not design nor maintain its
online storefront Dominos.com ("Website") and iOS mobile application ("App") in accord with
widespread standards that permit screen-reading software to function adequately ("Standards").
(See FAC ¶¶ 20-22.) Plaintiff claims that Defendant's failure to incorporate the Standards denied
him, and continues to deny him, the ability to take advantage of services available to the public.
(See FAC ¶¶ 26-27.)

Starting "as early as 2015," Plaintiff attempted to access and order food from the Defendant's
Website and App. (See FAC ¶¶ 42-44.) Defendant's failure to incorporate the widespread
Standards resulted in his inability to place an order for a pizza from Defendant. (See FAC ¶¶ 38,
43.) Plaintiff asserts that from 2016 to 2019, he has tried on multiple occasions to order a pizza
from both portals, but has been unable to access their services. (See FAC ¶ 45.)


                                            Page 1 of    7
  Case 2:16-cv-06599-SJO-FFM  Document
                          UNITED STATES70DISTRICT
                                           Filed 07/30/19
                                                    COURTPage 2 of Priority
                                                                   7 Page ID #:922
                                                                                     Send
                              CENTRAL DISTRICT OF CALIFORNIA
                                                                                     Enter
                                                                                     Closed
                                    CIVIL MINUTES - GENERAL                          JS-5/JS-6
                                                                                     Scan Only



CASE NO.: 2:16-CV-06599-SJO-FFM                           DATE: July 30, 2019



Plaintiff brings the following causes of action against Defendant: (1) violation of the Americans with
Disabilities Act ("ADA") of 1990, 42 U.S.C. § 12101 et seq., based on the Website, (2) violation
of the ADA based on the App, (3) violation of the California Unruh Civil Rights Act ("UCRA"),
California Civil Code § 51 et seq., based on the Website, and (4) violation of the UCRA based on
the App. Plaintiff seeks damages and an injunction ordering Defendant to incorporate the
Standards. (See FAC 22-26.)

       B.      Procedural Background

Defendant filed a Motion for Summary Judgment on February 22, 2017, which this Court granted
on March 20, 2017. The Court held that the Department of Justice had to promulgate regulations
determining whether the ADA should apply to electronic mediums, such as the Website and App.
The Court also ruled that because Defendant had not received notice that its Website and App
must comply with the ADA, imposing liability on Defendant would violate Defendant's due process
rights. Plaintiff appealed this Court's decision to the Ninth Circuit Court of Appeals on April 12,
2017.

On February 6, 2019, the Ninth Circuit reversed this Court's summary judgment order and
remanded this action to this Court, holding that "the district court erred in holding that imposing
liability in this case would violate Domino's due process rights. Domino's has received fair notice
that its website and app must provide effective communication and facilitate 'full and equal
enjoyment' of Domino's goods and services to its customers who are disabled." Robles v.
Domino's Pizza, 913 F.3d 898, 909 (9th Cir. 2019).

After the Ninth Circuit's decision, this Court set a Scheduling Conference and ordered that May
15, 2019 would be the last day on which Plaintiff could amend pleadings. (See Order Setting
Scheduling Conference, ECF No. 51; Minutes of Scheduling Conference, ECF No. 56.) Defendant
also filed a petition for writ of certiorari with the United States Supreme Court.

On May 15, 2019, based on new expert testimony, Plaintiff filed a Motion for Leave to File a FAC,
which this Court granted on June 13, 2019. (See Mot for Leave to File FAC, ECF No. 60; Order
Granting Leave To File FAC, ECF No. 65.)

II.    DISCUSSION

       A.      Legal Standard

"A trial court may ... find it efficient for its own docket and the fairest course for the parties to enter
a stay of an action before it, pending resolution of independent proceedings which bear upon the
case." Levya v. Certified Grocers of California, Ltd., 593 F.2d 857, 863-64 (9th Cir. 1979). The
decision regarding whether or not to grant a stay proceedings is firmly within the discretion of the
district court. "The trial court's power to administer the court calendar and to control the time and

                                              Page 2 of    7
 Case 2:16-cv-06599-SJO-FFM  Document
                         UNITED STATES70DISTRICT
                                          Filed 07/30/19
                                                   COURTPage 3 of Priority
                                                                  7 Page ID #:923
                                                                                  Send
                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                  Enter
                                                                                  Closed
                                   CIVIL MINUTES - GENERAL                        JS-5/JS-6
                                                                                  Scan Only



CASE NO.: 2:16-CV-06599-SJO-FFM                         DATE: July 30, 2019


conduct of trial is broad." U.S. v. Doe, 627 F.2d 181, 183-84 (9th Cir. 1980). "[T]he power to stay
proceedings is incidental to the power inherent in every court to control the disposition of the
causes on its docket with economy of time and effort for itself, for counsel, and for litigants."
Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). A Landis stay should not be granted "unless it
appears likely the other proceedings will be concluded within a reasonable time in relation to the
urgency of the claims presented to the court." Leyva, 593 F.2d at 857, 863-64. "'[I]f there is even
a fair possibility that the stay ... will work damage to some one else,' the stay may be inappropriate
absent a showing by the moving party of ‘hardship or inequity.'" Dependable Highway Exp., Inc.
v. Navigators Ins. Co., 498 F.3d 1059, 1066 (9th Cir. 2007) (quoting Landis., 299 U.S. at 255).

After a final decision by a United States Court of Appeals, a party may seek final review with the
Supreme Court of the United States. See 28 USC § 2101 (f). "In any case in which the final
judgment or decree of any court is subject to review by the Supreme Court on writ of certiorari, the
execution and enforcement of such judgment or decree may be stayed a reasonable time to
enable the party aggrieved to obtain a writ of certiorari from the Supreme Court. The stay may be
granted by a judge of the court rendering the judgment...." Id.

A stay is not "a matter of right, even if irreparable injury might otherwise result." Nken v. Holder,
556 U.S. 418, 434 (2009) (internal citations omitted). The decision to grant a stay is an "exercise
of judicial discretion." Id. A court's judgment on whether to grant a stay should be "guided" by a
consideration of four factors: "(1) whether the stay applicant has made a strong showing that he
is likely to succeed on the merits; (2) whether the applicant will be irreparably injured absent a
stay; (3) whether issuance of the stay will substantially injure the other parties interested in the
proceeding; and (4) where the public interest lies." Id. The first two factors are "the most critical,"
and the last two factors are considered "once an applicant satisfies the first two." Id.; E. Bay
Sanctuary Covenant v. Trump, 909 F.3d 1219, 1246 (9th Cir. 2018). For the first factor, the chance
of success on the merits must be "better than negligible." Nken, 556 U.S. at 434. "By the same
token, simply showing some 'possibility of irreparable injury' fails to satisfy the second factor." Id.
at 434-35 (internal citations omitted).

"The party requesting the stay bears the burden of showing that the circumstances justify an
exercise of that discretion." Nken, 556 U.S. at 433-34.

       B.     Analysis

This Court applies the Nken factors in turn and concludes that Defendant does not carry its burden
to justify a stay of this litigation.1


   1
    If the Supreme Court does grant certiorari in the instant case, that decision will divest this
   Court of jurisdiction, and the litigation before this Court will necessarily be stayed.
   MINUTES FORM 11                                                                                :
   CIVIL GEN                                Page 3 of    7                 Initials of Preparer
 Case 2:16-cv-06599-SJO-FFM  Document
                         UNITED STATES70DISTRICT
                                          Filed 07/30/19
                                                   COURTPage 4 of Priority
                                                                  7 Page ID #:924
                                                                                  Send
                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                  Enter
                                                                                  Closed
                                   CIVIL MINUTES - GENERAL                        JS-5/JS-6
                                                                                  Scan Only



CASE NO.: 2:16-CV-06599-SJO-FFM                         DATE: July 30, 2019


              1.      Defendant Has Not Made a Sufficiently Strong Showing that It Will Succeed
                      on the Merits Of Its Petition for Certiorari.

In its Motion, Defendant claims that the Ninth Circuit impermissibly expanded ADA applicability
to include standalone online portals (such as Defendant's Website and App) – that is, those online
portals that do not have a nexus to a physical storefront. (See Mot. 11-12.) Defendant alleges that,
in doing so, the Ninth Circuit purportedly exacerbated an existing two-way circuit split. (See Mot.
11-12.) Defendant claims that the Supreme Court inevitably will have to resolve the possible circuit
split by clarifying the manner in which the ADA applies to online portals. (See Mot. 11-12.)

As a threshold matter, the Court notes that the United States Supreme Court grants certiorari in
only a handful of cases every year. Accordingly, it is difficult for Defendant to show that it will
prevail on the merits if its writ petition, irrespective of the substance of the arguments that it
makes.

Moreover, Defendant does not show that the instant case squarely presents the issue of whether
the ADA applies to websites and apps. Although this Court acknowledges that the Supreme Court
may reach this issue in the future, in the instant case, the Ninth Circuit expressly stated that it was
not deciding "whether the ADA covers the website or apps of a physical place of public
accommodation where their inaccessibility does not impede access to the goods and services of
a physical location." Robles, 913 F.3d at 905 n. 6. Rather, the Ninth Circuit only decided whether
it was necessary for the Department of Justice ("DOJ") to promulgate regulations clarifying the
ADA's applicability to these portals. Id. As the Ninth Circuit put it, "[o]ur Constitution does not
require that Congress or DOJ spell out exactly how Domino's should fulfill this obligation." Id. at
909. The Ninth Circuit decision, thus, rested on principles of administrative law and the DOJ's
obligations with respect to the ADA. Adjudicating the appeal of the instant case, therefore, only
requires answering the question of whether the DOJ must promulgate regulations governing the
ADA's applicability to Websites and Apps.

The procedural posture of this case also does not create a three-way Circuit split. Rather, the
Ninth Circuit simply raises an issue separate and independent from the ADA's applicability to
electronic mediums. The Ninth Circuit held that it was not necessary for the DOJ to promulgate
regulations governing the applicability of the ADA to Websites and Apps. With our without the
Ninth Circuit's decision in this case, the law of the Ninth Circuit remains that the ADA applies to
electronic mediums that have a nexus to a physical location. See Reed v. CVS Pharmacy, Inc.,
No. CV 17-3877-MWF (SKX), 2017 WL 4457508, at *3 (C.D. Cal. Oct. 3, 2017). See also Weyer
v. Twentieth Century Fox Film Corp., 198 F.3d 1104, 1114 (9th Cir. 2000) (holding that to bring
an ADA cause of action, there must be "some connection between the good or service complained
of and an actual physical place"). Ultimately, while there may a Circuit split with respect to
whether the ADA applies to electronic mediums, the instant case does not squarely present that
issue to the Supreme Court.

   MINUTES FORM 11                                                                                :
   CIVIL GEN                                Page 4 of    7                 Initials of Preparer
 Case 2:16-cv-06599-SJO-FFM  Document
                         UNITED STATES70DISTRICT
                                          Filed 07/30/19
                                                   COURTPage 5 of Priority
                                                                  7 Page ID #:925
                                                                                  Send
                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                  Enter
                                                                                  Closed
                                   CIVIL MINUTES - GENERAL                        JS-5/JS-6
                                                                                  Scan Only



CASE NO.: 2:16-CV-06599-SJO-FFM                         DATE: July 30, 2019


Defendant must make "a strong showing that he is likely to succeed on the merits" of his petition
for certiorari. Nken, 556 U.S. at 434. In light of the fact that the Supreme Court grants certiorari
in only a handful cases, Defendant does not show a likelihood of succeeding on the merits.2

              2.      Defendant Will Not Suffer Irreparable Injury if Stay is Not Granted

With respect to irreparable injury, Defendant contends that, in the absence of a stay, it may have
to engage in discovery which may be unnecessary if the Supreme Court rules in its favor. (See
Mot. 10.)

This argument is unpersuasive. As noted previously, the Supreme Court grants certiorari in a
limited number of cases. Thus it is very likely that Defendant will need to litigate the instant case
before this Court. Defendant cannot state that it is a burden to continue with litigation that it is
obliged to continue in any event.

Moreover, Defendant does not need to litigate this case before this Court and the Supreme Court
at the same time, as Defendant appears to suggest. As the litigation proceeds before this Court,
the petition for writ of certiorari will remain pending. In these circumstances, Defendant will only
have to litigate before this Court. If the Supreme Court grants certiorari, this grant will divest this
Court of jurisdiction. Defendant again will only litigate before one forum, the United States
Supreme Court.

Ultimately, Defendant does not show that he will be forced to engage in costly and burdensome
litigation in the absence of a stay. Accordingly, Defendant does not show irreparable injury.




   2
      Defendant briefly alleges that Plaintiff impermissibly expanded the nature of his claims
   in his FAC to include third-party content from providers such as Coca-Cola and the National
   Dairy Council. (See Mot. 3-4.) Defendant contends that if Plaintiff's allegations are allowed
   to stand, then Defendant's Website would be responsible for content that these third-party
   providers publish to the Website. (See Mot. 3-4.) Although Defendant's argument might be
   true, the Court does not understand how the impermissible amendment of a complaint
   impacts the issue of a stay of litigation. Defendant will have an opportunity to challenge
   Plaintiff's factual allegations in the future, including on a motion to dismiss under Rule
   12(b)(6). (See Civil Minutes 4-5, ECF No. 65.) At this time, Defendant fails to make a
   sufficiently convincing case for a stay.
   MINUTES FORM 11                                                                                :
   CIVIL GEN                                Page 5 of    7                 Initials of Preparer
 Case 2:16-cv-06599-SJO-FFM  Document
                         UNITED STATES70DISTRICT
                                          Filed 07/30/19
                                                   COURTPage 6 of Priority
                                                                  7 Page ID #:926
                                                                                      Send
                               CENTRAL DISTRICT OF CALIFORNIA
                                                                                      Enter
                                                                                      Closed
                                     CIVIL MINUTES - GENERAL                          JS-5/JS-6
                                                                                      Scan Only



CASE NO.: 2:16-CV-06599-SJO-FFM                           DATE: July 30, 2019


               3.      Plaintiff Will Be Substantially Injured If a Stay is Granted

Defendant contends that Plaintiff will not be injured if a stay is granted. Defendant argues that
Plaintiff is a serial filer of ADA lawsuits, that Plaintiff may not actually have been a bona fide
customer of Defendant, that Plaintiff may not actually be able to establish standing, and that
Plaintiff's law firm has had a complaint filed against it for bringing lawsuits on behalf of a plaintiff
who lacked standing. (See Mot. 10.) Defendant further alleges that Plaintiff may actually gain from
a stay because the Supreme Court would presumably clarify which portions of the ADA would
apply to cases like the ones Plaintiff allegedly brings. (See Mot. 10-11.)

As a threshold matter, Defendant raises a series of substantive arguments about the allegations
that Plaintiff makes in the operative complaint. A motion for a stay is not the appropriate vehicle
through which to raise those challenges. Defendant can make these arguments in subsequent
pleadings.

Furthermore, delaying an action that has already been pending for several years is prejudicial to
Plaintiff. Plaintiff has a strong interest in the timely resolution of litigation. This is especially the
case in circumstances such as this one, where the Ninth Circuit has already ruled that this Court
is well within its competence to decide the dispute before it:

         [T]he application of the ADA to the facts of this case are well within the court's
         competence. Properly framed, the issues for the district court to resolve on
         remand are whether Domino's website and app provide the blind with auxiliary
         aids and services for effective communication and full and equal enjoyment of
         its products and services. Courts are perfectly capable of interpreting the
         meaning of “equal” and “effective” and have done so in a variety of contexts.

         Robles v. Domino's Pizza, LLC, 913 F.3d 898, 910–11 (9th Cir. 2019).

The Ninth Circuit's decision is binding on this Court and provides sufficient guidance for this Court
to continue with this litigation. Plaintiff's ability to vindicate his rights in this lawsuit is important,
and he will be substantially injured if this Court were to delay the litigation further.

               4.        The Public Interest Is In an Efficient Resolution to Claims

In its Reply, Defendant cites specific organizations, purportedly representing "industry groups
from nearly every sector of the economy," that are interested in resolving the circuit split that
currently exists. (See Reply 4.) Defendant contends that a stay, and a subsequent Supreme
Court ruling, would be in the public interest because these organizations and their member
businesses could better "[understand] what obligations the ADA imposes, if any, upon their
websites." (See Reply 4.)

   MINUTES FORM 11                                                                                    :
   CIVIL GEN                                  Page 6 of    7                   Initials of Preparer
  Case 2:16-cv-06599-SJO-FFM  Document
                          UNITED STATES70DISTRICT
                                           Filed 07/30/19
                                                    COURTPage 7 of Priority
                                                                   7 Page ID #:927
                                                                                 Send
                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                 Enter
                                                                                 Closed
                                  CIVIL MINUTES - GENERAL                        JS-5/JS-6
                                                                                 Scan Only



CASE NO.: 2:16-CV-06599-SJO-FFM                        DATE: July 30, 2019




Although there may be a public interest in the Supreme Court adjudicating the question of
whether the ADA applies to website, this has very little to do with whether this Court should stay
this litigation. Granting Plaintiff a timely resolution of his claim, which has been pending for
several years, is a substantial interest that would be injured if this Court were to issue a stay of
litigation.

III.      RULING

For the reasons explained above, the Court DENIES Defendant's Motion to Stay Pending
Defendant's Writ of Certiorari.



IT IS SO ORDERED.




       MINUTES FORM 11                                                                            :
       CIVIL GEN                           Page 7 of    7                 Initials of Preparer   SMO
